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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                         Case No. 21-55 (MJD)

UNITED STATES OF AMERICA,

                   Plaintiff,
                                          MOTION TO EXTEND DEADLINE
      v.                                  TO FILE SENTENCING
                                          POSITIONS
JARED JOHN FIEGE,

                   Defendant.


      The United States of America, by and through its attorneys W. Anders

Folk, Acting United States Attorney for the District of Minnesota, and

Assistant United States Attorney Lindsey Middlecamp, hereby moves the

Court for a revised deadline for the parties’ sentencing position papers to be

due two weeks prior to the as of yet unscheduled sentencing hearing in this

matter. The grounds for this motion are as follows:

      The Presentence Investigation Report was filed on September 29, 2021,

setting a sentencing position pleadings deadline of October 13, 2021. However,

to date, no sentencing hearing has been set. The Government’s efforts to reach

victims in order to obtain impact statements and, where applicable, restitution

demands are ongoing. So far, two victim statements have been submitted, but

more are anticipated. An extension is therefore appropriate to ensure the

sentencing position pleadings can take victim impact into account.
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      Furthermore, as the PSR notes in paragraph 127, Mr. Fiege’s criminal

history analysis remains somewhat in flux as he resolves several prior criminal

offenses. In the event these state criminal matters are resolved prior to the

parties’ sentencing position pleadings, it will allow the parties greater clarity

in their analysis of the applicable guidelines and any appropriate departure

motions.

      The Government has notified counsel for Mr. Fiege of this request and

the he has indicated he does not oppose the deadline being extended. The

Government respectfully proposes that a deadline to be set two weeks prior to

a sentencing hearing date will provide adequate time to continue the parties’

efforts to gather victim input and other materials relevant to the Court’s

consideration, while still providing the Court with two weeks to consider the

memoranda prior to sentencing.



Dated: October 7, 2021                     W. ANDERS FOLK
                                           Acting United States Attorney


                                           __/s/ Lindsey E. Middlecamp
                                           BY: LINDSEY E. MIDDLECAMP
                                           Assistant United States Attorney




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